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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

       v.                                                         CRIMINAL N0.19-1441

SAMUEL MEEKER



                               PRETRIAL DETENTION ORDER

                AND NOW, this ,d?61ay of August, 2019, after an evidentiary hearing and

argument of counsel for the government and the defendant, the Court finds that:

                (a)     the government has proved by a preponderance of the evidence that no

condition or combination of conditions will reasonably assure the appearance of the defendant as

required; and

                (b)     the government has proved by clear and convincing evidence that no

condition or combination of conditions will reasonably assure the safety of other persons and the

community, as required by Title 18, United States Code, Section 3142(e).

                The Court makes the following findings of fact:

                This case is appropriate for detention under Title 18, United States Code, Section

3142(e) and (f)(2) because:

                1.      There is probable cause to believe that the defendant has violated 18

U.S.C. § 875(c), as charged in the criminal complaint filed on August 22, 2019.

                2.      The evidence in this case is strong. The defendant left a voicemail

message that threatened force against the recipient, the defendant expressed his desire to sweep
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the County of Lehigh from the map, and his desire for the County's total destruction through

genocide.

               3.      As charged in the criminal complaint, the defendant faces a total

maximum sentence of 5-years' imprisonment, 2 years of supervised release, a $250,000 fine and

a $100 special assessment. The estimated guidelines range for the charged offense is 27-33

months of imprisonment. Accordingly, the defendant has an incentive to flee.

               4.      The defendant has a lack of current community ties and employment. The

defendant had community ties to the Philadelphia area, but his landlord told FBI agents that he

had started eviction proceedings after the defendant's August 2019 rent check bounced for

insufficient funds. The defendant has failed to pay his rent and hotel bill, notwithstanding his

monthly income of $2,700, therefore he does not appear to be able to competently support

himself or have the ability to maintain a steady residence.

               5.      The defendant has lengthy criminal arrest and conviction history dating

back to 2010, including five convictions for misdemeanor controlled substance violations, a 2012

misdemeanor first degree conviction for theft, and a 2018 conviction for misdemeanor third

degree defiant trespass and criminal mischief involving his then 92 year old father's property.

               6.      The defendant's threat to a Lehigh County solicitor shows that the

defendant poses an escalating risk of causing great harm to those he believes are responsible for

his father's death. Additionally, the defendant has three .9 mm and one .38 caliber firearms

registered to him, and the FBI has been unable to locate these firearms.

               7.      The defendant is a substantial risk of flight because he does not comply

with court supervision, he barricaded himself in his apartment when United States Marshals



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recently attempted to arrest him, and he is now facing up to a 5-year maximum term of

imprisonment, if convicted.

               8.      The strength and nature of the case against the defendant, combined with

the nature and seriousness of the danger to any person or the community that the defendant's

release would pose establishes the defendant's danger to the community. The defendant has

posed an escalating risk of causing great harm to those he believes are responsible for his father's

death.

               Therefore, IT IS ORDERED that the defendant be committed to the custody of

the Attorney General for confinement in a correction facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal; that the

defendant be afforded reasonable opportunity for private consultation with counsel; and that, on

order of a Court of the United States, or on request of an attorney for the government, the person

in charge of the corrections facility in which the defendant is confined deliver the defendant to a

United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                              BYTHECO RT:



                                                      I    .L
                                              HONORABLE HENRY S. PERKIN
                                              United States Magistrate Judge




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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

       v.                                                       CRIMINAL NO. 19-1441

SAMUEL MEEKER

               GOVERNMENT'S MOTION FOR PRETRIAL DETENTION

"I'M COMING THE F*CK DOWN THERE! AND I'M COMING THE F*CK
 DOWN THERE AND I'M F*CKING KICKING BUTTS! AND IT BEGINS
         WITH YOU! MAKE ME A FAIR OFFER B*TCH!"
Voicemail message left for Victim #1, who is a solicitor for the Lehigh County Law Department.

       On July 22, 2019, and August 9, 2019, defendant Samuel Meeker called and left separate

voicemail messages for a solicitor of the Lehigh County Law Department. The second voicemail

message threatened force specifically against Victim #1 if she did not pay the defendant a sum of

money for settlement of his perceived lawsuit against Lehigh County. The defendant stated in

the voicemail message that he wanted the County of Lehigh "swept from the map," "totally

destroyed," by "genocide." When deputies of the United States Marshal Service tried to arrest

the defendant on state warrants for these threats, the defendant barricaded himself in his

apartment. This was not the defendant's first contact with law enforcement as he has been

convicted five times for drug possession, has failed to appear in court for hearings unrelated to

this case, and has violated probation at least four times. The defendant committed this crime

while on county probation.

       The United States of America, by William M. McSwain, United States Attorney for the

Eastern District of Pennsylvania, and Kishan Nair, Assistant United States Attorney, moves for a


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detention hearing 1 and pretrial detention of the defendant pursuant to 18 U.S.C. §§ 3142(e) and

(f)(2). The government seeks this Order, because no condition or combination of conditions will

reasonably assure the defendant's appearance as required and/or the safety of other persons and

the community. 2

I.      THE FACTS

               In support of this motion, the government makes the following representations

and proposed findings of fact:

       A.      Probable Cause And The Evidence In This Case

                1.     There is probable cause to believe that the defendant has violated Title 18,

United States Code, Section 875 (transmitting a threat to injure another person), as charged in the

criminal complaint, filed on August 22, 2019.

               2.      The evidence in this case is strong:

                       a.        The defendant left two separate voicemail messages with the

Lehigh County Law Department's internet voicemail system. The second message threatened

force against the recipient, the defendant's desire to sweep the County of Lehigh from the map,

and his desire for the County's total destruction through genocide; the first message threatened a

lawsuit against Lehigh County because of his belief that Lehigh and Northampton Counties had




1
  Under the Bail Act, a judicial officer shall hold a detention hearing upon motion of the
government in a case, as here, which involves a serious risk that the defendant will flee or a
serious risk that such person will obstruct justice, or threaten, injure, or intimidate, a prospective
witness. 18 U.S.C. § 3142(f)(2)(A),(B).
2
  The government must prove by a preponderance of the evidence that no conditions of release
reasonably will assure the defendant's appearance or prove by clear and convincing evidence
that no conditions ofrelease will assure the safety of the community. United States v. Himmler,
797 F.2d 156, 161 (3d Cir. 1986).

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kidnapped, robbed, and murdered his father. The defendant identified himself as the caller in the

first and second voicemail messages, and in the first voicemail message he left his telephone

number, (646) 574-7222. Lehigh County telephone records indicated both of the defendant's

calls originated from same telephone number that he left in the first voicemail message. During

the defendant's initial detention and transportation on Pennsylvania State terroristic threats

charges, United States Deputy Marshal Nik Hannevig, who had previously listened to the

voicemail messages described below, positively identified the defendant's voice as the same

person who left the voicemail messages for Victim #1 and the Lehigh County Law Department.

               On July 22, 2019, the defendant left the following voicemail message with the

Lehigh County Law Department, located at 17 South 7th Street, Allentown, Pennsylvania:

                       Yes, um, this message is, uh, to the, uh, County Solicitor, uh, from Samuel
                       [U/I] Meeker. I'm, I'm threatening to sue (stutters) and I do that with,
                       with, with great regret. I mean it's, it's unfortunate that the City of
                       Allentown is continuing to harbor Person #1 [name redacted for purpose
                       of this affidavit], uh, who, who murdered my father, uh, in a conspiracy
                       with Person #2, Person #3 [names redacted for purpose of this affidavit].
                       Uh, that, uh, healthcare power of attorney that was used to withdraw life
                       sustaining fluids, uh, is in the possession of the Morning Call, uh, and
                       Person #4 [name redacted for purpose of this affidavit] of the Lehigh
                       Valley Live. Um, I have supplied them with a number of documents that,
                       uh, provides, uh, everyone public the chance to explore my theory and that
                       theory is very simple, that my father was kidnapped, robbed, and
                       murdered and the Counties of Lehigh and Northampton are accessories
                       because they aided and abetted, uh, in the execution of this scheme, uh,
                       with official, uh, actions and, and, and, and support from, uh, County
                       officials. So, with that said sir, uh, I'm going to f*cking destroy your
                       county unless, uh, arrests are made and the settlement is offered. I mean
                       it's that simple. I mean, I hope you guys really understand, that like I am
                       a reasonable guy, ok, whose father has been murdered. So what that does
                       is it makes me very angry, ok, I'm not threatening anyone 's lives, I'm
                       threatening your livelihoods. Uh, your lives, uh, you know, are in, uh,
                       God's hands, and you know (laughing) I have no control over that, right?
                       So, with that said, uh, I would like Person #1, uh, Person #2 and Person
                       #3 arrested. I would like the Allentown Police Department to stop


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                       harassing me and calling me. I have an attorney. A member, a Captain of
                       the west side district just called me and threatened me. He left a
                       voicemail, uh, when he has no right to contact me and I have an attorney.
                       I'm not wanted for questioning in any matter and he 's not advising me
                       that my father's been, that my father's murderer has been arrested. So
                       he 's harassing me, that's my position. Uh, I've tried to file a criminal
                       report with the Allentown Police Department. They refused to take my
                       report over the phone. So, in that instance, I'm advising you, uh, uh, uh,
                       ofyour liabilities, uh, I'm threatening to sue, uh, and, you know, uh, ifyou
                       continue to advise these people in the way that you have and lead them
                       down the path that you have led them, um guess what? You 're all going to
                       get f*cked and you can quote me on that. Have a good day. My number is
                       646-574-7 Triple 2 (646-574-7222). But !would call the Morning Call
                       and ask them to see the goods, because, they got 'em.

                On August 9, 2019, the defendant left the following voicemail message

specifically for Victim #1:

                       Yes, (clears throat) Solicitor ***** [Meeker stated the actual last name of
                      Victim #1, which has been redacted from this document], this message is
                      from Mr. Samuel Meeker. Um, I wanted to, um, (clears throat) advise you
                      of, you know, the seriousness of this matter. Uh, of my total and complete
                      contempt for the County of Lehigh. For my desire for the County of
                      Lehigh to be (stutters) swept from the map, erasedfrom history ... totally
                      destroyed. I mean, absolutely, I mean genocide. The entire County of
                      Lehigh, I desire to not exist. Because the entire County ofLehigh is a
                      corrupt klepto state. It's a piece of sh *t, and you represent them. So you
                       better tell your piece ofsh *t clients, your f*cking inbred motherf*cker
                      clients. They better pay the f*ck up. Because if they don 't pay the f*ck up,
                      I'M COMING THE F*CK DOWN THERE! AND I'M COMING THE
                      F*CK DOWN THERE AND I'M F*CKING KICKING BUTTS! AND IT
                      BEGINS WITH YOU! MAKE ME A FAIR OFFER B*TCH!

       B.       Maximum Penalties

                As charged in the criminal complaint, the defendant faces a total maximum

sentence of 5-years' imprisonment, 2 years of supervised release, a $250,000 fine and a $100

special assessment. The estimated guidelines range for the charged offense is 27-33 months of

imprisonment.



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        C.      . History and Characteristics of the Defendant

                1. Physical and Mental Condition

                    The defendant has never sought adequate mental health treatment. According

 to the estate attorney for the defendant's father, an attempt was made to involuntarily commit the

 defendant before his 2018 arrest related to the defendant's trespass on his 92 year old father's

 estate. Authorities had told the estate attorney that the defendant would have to seek a voluntary

 commit and there was nothing they could do if he did not agree. The defendant was evicted from

 the father's residence for threatening behavior, and the Pennsylvanian State Police-Belfast

 ,Barracks had to arrest the defendant when he refused to leave the barn on his father's property,

 where he had been sleeping.
                       "
                2. Community Ties/Lack of Employment

                    The defendant had community ties to the Philadelphia area, but his landlord

 told FBI agents that he had started eviction proceedings after the defendant's August 2019 rent

 check bounced for insufficient funds. On August 12, 2019, the defendant stayed at the Hugo

 Hotel, 525 Greenwich Street, New York, New York. The manager of the hotel told FBI agents

 that the hotel did not receive payment from the defendant and he left behind a bag of clothing, a

 passport, other documents, and drug paraphernalia. The defendant is unemployed, but he does

 have monthly income of $2,700 from his father's estate, as well as principal distributions if he

 successfully complies with drug screenings prior to each payment. According to the estate

 attorney, the estate within the last year and a half has distributed approximately $70,000 to the

 defendant, with the most recent being an April 2019 distribution of $10,000. The defendant

· failed to pay his rent and hotel bill, notwithstanding his monthly income of $2, 700. The



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defendant has demonstrated that despite his income, he is not able to care for himself and

maintain a stable residence.

               3. Criminal History

                   The defendant has lengthy criminal arrest and conviction history dating back

to 2010, including five convictions for misdemeanor controlled substance violations, a 2012

misdemeanor first degree conviction for theft, and a 2018 conviction for misdemeanor third

degree defiant trespass and criminal mischief at the home of his elderly father.

       D.      The Nature and Seriousness of the Danger to Any Person or the Community
               that would be posed by the Defendant's Release


               The defendant's threat to a Lehigh County solicitor is a great concern. Based on

his communications, it is clear he poses a significant risk to the people he holds responsible for

his father's death. Additionally, the FBI has learned that the defendant is the registered owner of

three .9 mm pistols and one .38 caliber. The FBI has not located these firearms.

       E.      Risk of Flight

               The defendant is a substantial risk of flight because he does not comply with court

supervision, he barricaded himself in his apartment when United States Marshals recently

attempted to arrest him, and he is now facing up to a 5-year maximum term of imprisonment, if

convicted. Moreover, the defendant does not have a fixed residence and, as stated, attempted to

evade apprehension.




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II.    CONCLUSION

               When all these factors are viewed in light of the sentence defendant faces if

convicted, it is clear that nothing short of 24-hour custody and supervision can ensure the safety

of the community and/or assure the presence of the defendant as required.

               WHEREFORE, the government respectfully submits that its Motion for

Defendant's Pretrial Detention should be granted.

                                             Respectfully submitted,

                                              WILLIAM M. McSWAIN


                                            ~KISHANNAIR
                                             Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

              I certify that a copy of the Government's Motion for Pretrial Detention, and

Proposed Order was served by email, on the following defense counsel:




                                            /s/ Kishan Nair
                                            KISHANNAIR
                                            Assistant United States Attorney


Date: August 26, 2019




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